 Case 2:12-cv-12146-BAF-LJM ECF No. 8 filed 12/03/12                  PageID.25   Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN


WESLEY GILLESPIE, Individually,          :
                                         :
             Plaintiff,                  :
                                         :
v.                                       :                    Case No. 2:12-cv-12146
                                         :
VOIGHT ENTERPRISES, INC                  :
A Domestic Corporation                   :
                                         :
             Defendant.                  :
_______________________________________/ :


/s/ Pete M. Monismith                                /s/ Louis Theros
PETE M. MONISMITH                                    Louis Theros
PETE M. MONISMITH, PC                                Butzel Long
3945 Forbes Avenue,                                  Suite 100
Suite #175                                           150 West Jefferson Ave.
Pittsburg, Pennsylvania 15213                        Detroit, MI 48226
Telephone: (724) 610-1881                            Direct: 313 225 7039
Facsimile (412) 258-1309                             theros@butzel.com
Pete@monismithlaw.com
Attorneys for Plaintiff                              Attorneys for Defendant



               STIPULATED ORDER OF DISMISSAL, WITH PREJUDICE


       The parties having stipulated to the entry of an Order dismissing the case with prejudice,

and the Court being fully advised in the premises;

       IT IS HEREBY ORDERED that the above-entitled cause BE, and hereby IS,

DISMISSED WITH PREJUDICE, and without costs or attorney fees to any party.


                                             s/ Bernard A. Friedman

       December 3, 2012                      HON. BERNARD A. FRIEDMAN

                                             SENIOR DISTRICT COURT JUDGE
 Case 2:12-cv-12146-BAF-LJM ECF No. 8 filed 12/03/12                 PageID.26     Page 2 of 2



Case No. 2:12-cv-12146




The parties, through their counsel, hereby stipulate to the entry of the above Stipulated Order of
Dismissal, With Prejudice.



/s/ Pete M. Monismith                                /s/ Louis Theros
PETE M. MONISMITH                                    Louis Theros
PETE M. MONISMITH, PC                                Butzel Long
3945 Forbes Avenue,                                  Suite 100
Suite #175                                           150 West Jefferson Ave.
Pittsburg, Pennsylvania 15213                        Detroit, MI 48226
Telephone: (724) 610-1881                            Direct: 313 225 7039
Facsimile (412) 258-1309                             theros@butzel.com
Pete@monismithlaw.com
Attorneys for Plaintiff
                                                     Dated: November 29, 2012
Dated: November 29, 2012




                                                2
